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U.S. Department of Justice

 

United States Attorney
Southern District of New York

 

The Silvio J. Mollo Building
One Saint Andrew’s Plaza
New York, New York 10007

June 28, 2023
TO BE FILED UNDER SEAL
The Honorable Richard M. Berman
United States District Judge
Southern District of New York
500 Pearl Street
New York, NY 10007

Re: United States v. Robert Hadden, S2 20 Cr. 468 (RMB)
Dear Judge Berman:

The Government respectfully writes to provide the Court with a list of the eleven victims
who spoke at today’s sentencing proceeding and the order in which they spoke.

Emily Anderson* (Victim-1)
Kate Evans* (Victim-7)
(Victim-87)
(Victim-65)
Laurie Kanyo (Victim-15)
(Victim-246)
(Victim-22)
(Victim-9)

. Robyn Bass Lavender  (Victim-11)
0. (Victim-20)
1. (Victim-259)

Respectfully submitted,

EB Bw RPNNDMPWNY

 

DAMIAN WILLIAMS
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by: s/
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* Victims who testified at trial under pseudonyms are referenced above by their pseudonym. The
Government presently understands that certain of the above victims wish to remain anonymous in
public filings and accordingly files a redacted copy of this letter on ECF.
